We are of opinion that the probate and letters testamentary issued in South Carolina are sufficient to enable the plaintiff to sue here. The Constitution of the United States and the act of Congress made to carry it into effect direct us to give "full faith and credit to the records, public acts, and judicial proceedings" of other states. A probate is a judicial act of a court having competent jurisdiction, and, while it remains unrepealed, completely authenticates the right of the executor.
NOTE. — But an administrator cannot maintain a suit here upon letters granted in another State. Anonymous, 13 N.C. 355; Butts v. Price, 1 N.C.; Leake v. Gilchrist, 13 N.C. 73; Nisbet v. Stewart, 19 N.C. 24.